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                                                  #:206291
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SA CV 20-00048-JVS-JDE                                     Date    February 19, 2024
 Title             Masimo Corp. and Cercacor Labs., Inc., v. Apple Inc.


 Present: The Honorable          James V. Selna, U.S. District Court Judge
                          Elsa Vargas                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Apple’s Motion for Review of and
                        Objections to Report and Recommendation Regarding Masimo’s
                        Infringement Contentions [2378] (Redacted)

      Defendant Apple Inc. (“Apple”) filed a motion for review of and objections to
Magistrate Judge Early’s November 8, 2024 Report and Recommendation regarding
Masimo Corp. and Cercacor Labs, Inc.’s (together, “Masimo”) infringement contentions.
(“Motion,” Docket Nos. 2378, 2384 (sealed)). Masimo filed an opposition. (“Opp’n,”
Docket. Nos. 2395, 2397 (sealed)). Apple filed a reply. (“Reply,” Docket Nos. 2428, 2449
(sealed)). The Court held a hearing on January 6, 2025.

         For the following reasons, the Court DENIES Apple’s motion.

I.       BACKGROUND

       The Court summarized the relevant procedural background in its ruling on Apple’s
Motion to Compel Supplemental Infringement Contentions and Masimo’s Motion to Strike
Apple’s Invalidity Contentions. “Order re Motion to Compel,” Docket No. 2019 (sealed)
at 1-3. That discussion is incorporated by reference here. The parties met and conferred to
work through the issues raised in Apple’s motion to compel both before and after the Court
issued its Order. Id. at 8. Despite their efforts, the parties continued to dispute whether the
scope of Masimo’s supplemental contentions was appropriate. Apple argued and continues
to argue that Masimo disclosed new theories for the first time in its supplemental
contentions. Order re Motion to Compel at 8; see also Motion at 4. Masimo argued and
maintains that it merely restructured its contentions and added supporting detail based on
rolling discovery. Id.; see also Opp’n at 3-4.

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        The Court ultimately referred Apple’s Motion to Compel to Magistrate Judge Early
for a report and recommendation. Referral Order, Docket No. 2114. Judge Early issued his
report and recommendation on November 8, 2024, finding Masimo’s supplemental
contentions appropriate. See generally, “R&R,” Docket Nos. 2379, 2311 (sealed). The
R&R summarized the relevant procedural background, which included extensive meet and
confer efforts. Id. at 2-13. That discussion is incorporated by reference here. Judge Early
also held a thorough hearing on this matter. See id. at 12-13; see also Motion at 6. Relevant
to Apple’s pending motion, the R&R found “that the July Contentions’ references to
Workout Mode did not introduce a new theory, but rather provided additional details,
including new nomenclature to conform with Apple-specific naming conventions (see Dkt.
No. 2008-1 at 9), regarding an existing theory sufficiently, though not perfectly, disclosed
in the May Contentions.” Id. at 19.

      Apple now objects to the R&R’s finding that Masimo’s May 2024 infringement
contentions sufficiently disclosed workout mode as contrary to law. Motion at 10.
Relatedly, Apple argues that the R&R erred both in reaching and finding that Masimo had
good cause to amend its contentions to include “Workout Mode.” Id. at 15. Masimo
disputes both of these arguments. See generally, Opp’n.

II.      LEGAL STANDARD

       When a district court reviews a non-dispositive decision by a magistrate judge, the
applicable standards are whether the order is “clearly erroneous” or “contrary to law.” Fed.
R. Civ. P. 72(a) and C.D. Cal. L.R. 72-2; accord 28 U.S.C. § 636(b)(1)(a); see also United
States v. Abonce-Barrera, 257 F.3d 959, 969 (9th Cir. 2001) (“[T]he magistrate judge’s
decision in nondispositive matters is entitled to great deference by the district court.”). The
standard that applies in reviewing a finding of fact is whether there was “clear error” by the
magistrate judge; it is not whether the district judge would have made a different
determination based on the same evidence. Anderson v. City of Bessemer City, 470 U.S.
564, 573 (1985). A factual finding by a magistrate judge is “clearly erroneous” only when
the reviewing court is “left with the definite and firm conviction that a mistake has been
committed.” United States v. Hinkson, 585 F.3d 1247, 1260 (9th Cir. 2009) (en banc)
(internal quotation marks omitted).

         The determination of legal issues by a magistrate judge is reviewed de novo, under
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       Moreover, use of screen shots alone does not mean the contentions provide
insufficient notice under the LPRs. Rather, the issue is whether the contentions “provide
reasonable notice to the defendant why the plaintiff believes it has a reasonable chance of
proving infringement.” Digital Reg of Texas, LLC v. Adobe Sys. Inc., No. CV
12-01971-CW (KAW), 2013 WL 3361241, at *3 (N.D. Cal. July 3, 2013) (citing Shared
Memory Graphics LLC v. Apple, Inc., 812 F. Supp. 2d 1022, 1025 (N.D. Cal. 2010)).
Unlike the contentions at issue in Adobe, the contentions here include both a narrative
portion and screen shots describing and showing the                                   , tying
the contentions together. In most of the cases Apple cites, the contentions were struck due
a lack of connection tying the claim language to the screenshots and due to other issues,
such as lack of clarity regarding who or what is performing the limitations. See, e.g.,
Fortinet, Inc. v. Forescout Techs., Inc., No. 20CV03343EMCJSC, 2021 WL 1749902, at *3
(N.D. Cal. May 4, 2021). Here, though brief, the narrative describes the infringement theory
and the accompanying screenshots of technical documents provide the details needed to
understand the theory.
      For the foregoing reasons, the Court does not find the R&R’s legal findings contrary
to law. The May Contentions meet the reasonable notice standard.
         C.      Good Cause and Diligence
      Given the above findings, the Court need not address the R&R’s findings as to good
cause and diligence. Still, it appears that Masimo always argued that the amended
contentions merely added details but did not disclose new theories. See 9/26/24 Unsealed
Hr’g Tr., Docket No. 2121. That is the threshold question that needs to be resolved here.
The Court need only consider the good cause and diligence issues to the extent Masimo
amended its contentions to disclose new or different infringement theories. The Court finds
Masimo did not disclose new theories.
IV.      CONCLUSION
         For the reasons discussed above, the Court DENIES Apple’s Motion.




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